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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

ROBERT T. BROCKMAN,                      §
                                         §
             Plaintiff,                  §
                                         §
             v.                          §         Civil Action No. 4:22-cv-00202-GCH
                                         §
UNITED STATES OF AMERICA,                §
                                         §
             Defendant.                  §

           JULY 27, 2022 DECLARATION OF KATHRYN KENEALLY

      I, Kathryn Keneally, declare as follows:

      1.     I am a member of the bar of the State of New York, the United States

Supreme Court, and various other federal courts. I am a partner of the law firm Jones

Day, counsel for Plaintiff Robert T. Brockman. I make this Declaration in support of

Plaintiff Robert T. Brockman’s Reply in Support of Second Supplemental Memorandum

(1) for Determination on Complaint for Judicial Review and Abatement of Jeopardy

Assessment and Jeopardy Levy or (2) in the Alternative, for a Stay of IRS Collection.

      2.     Attached hereto as Exhibit A is a copy of transaction details for a wire

transfer on October 15, 2021, into Mr. Brockman’s account at Wallis Bank in Houston,

Texas.1

      3.     Attached hereto as Exhibit B is a copy of wire log details for a wire transfer

on October 15, 2021, into Mr. Brockman’s account at Wallis Bank.


      1
         The exhibits attached hereto have been redacted in compliance with Federal Rule
of Civil Procedure 5.2.
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        4.     Attached hereto as Exhibit C is a copy of a Form 668-A(ICS), Notice of

Levy, dated March 16, 2022, from the Internal Revenue Service to Wallis Bank.

        5.     Attached hereto as Exhibit D is a copy of a letter dated March 24, 2022,

from Wallis Bank to Mr. Brockman.

        6.     Attached hereto as Exhibit E is a copy of an Advice of Debit, dated May 5,

2022.

        I declare under penalty of perjury that the foregoing is true and correct.

Executed in New York, New York on July 27, 2022.



                                                   /s/ Kathryn Keneally
                                                   Kathryn Keneally




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                             EXHIBIT A
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                             EXHIBIT B
Wires Log Inquiry
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Wire Log Details                                      Additional Information
User Correlation:                         797A007V
                                                      Wire Type 10/00 was successfully sent to   for
                                                      1054921.21.
Date:                                    10/15/2021
Time:                                      13:37:52
Message ID:                                 FTFR12
Description:
$1,054,921.21 Wire Acknowledged by FRB
Program:                                 WTTRNACK
Procedure Name:
Function Code:                                   S
Workstation ID:
JX42797C
User:
JXCHANGT01
Error Code:
Line Number:
Description:
Sending ABA:
Receiving ABA:
ID Code/Identifier:
401446882 D
IMAD Sequence:


FRB Sequence:
OMAD Sequence:


FRB Sequence:




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                             EXHIBIT C
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                              EXHIBIT D
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                              EXHIBIT E
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